Case 0:17-cv-60426-UU Document 21-2 Entered on FLSD Docket 03/27/2017 Page 1 of 45




                                Exhibit
                                  1
        Case 0:17-cv-60426-UU
3/21/2017                          Document
                        Trump Delivered            21-2 Entered
                                        A Fiery Campaign­Style           on
                                                               Speech To A   FLSD
                                                                           Raucous    Docket
                                                                                   Crowd        03/27/2017
                                                                                         Of Supporters              Page 2 of 45
                                                                                                       ­ BuzzFeed News




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   Trump Delivered A Fiery Campaign-Style Speech To A
   Raucous Crowd Of Supporters
   BuzzFeed News’ Lissandra Villa reported from Melbourne, Florida and BuzzFeed News streamed the event on Facebook Live.

   posted on Feb. 18, 2017, at 8:03 a.m.



                 BuzzFeed News
                 BuzzFeed News




   Joe Raedle / Getty Images


   Here’s what’s happening:                                                   You can rewatch our live feed, with
                                                                              interviews with Trump supporters, here

https://www.buzzfeed.com/buzzfeednews/president­trump­rally­in­florida?utm_term=.iqwE27aDW#.ok4rBgpo2                              1/23
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                                                                                   Crowd        03/27/2017
                                                                                         Of Supporters              Page 3 of 45
                                                                                                       ­ BuzzFeed News


     After a rocky ﬁrst month in oﬃce, President Trump delivered a
     ﬁery and passionate campaign-style speech to about ,
     adoring supporters at an airport hangar in Melbourne, Florida
     as a way to rally his support and regain footing.

     Trump made a dramatic entrance — Air Force One rolled up
     in front of the crowd, and he walked down the stairs to the
     lectern — and immediately bashed the media that is critical of
     him as an enemy that publishes “fake news.”                                First Amendment Live: Trump …
                                                                                Posted by BuzzFeed News
     He then launched into a full-throated defense of his time in               1,034,872 Views
     oﬃce and what he plans to do, sticking to staples such as
     bring back jobs and revising his executive order limiting
     immigration from certain countries.

     “People want to take back control of their countries and they
     want to take back control of their lives and the lives of their
     family. The nation state remains the best model for human
     happiness,” Trump said.

     At one point, Trump told Secret Service to let a supporter up
     on stage and say a few words, and the guy was THRILLED.

     Trump supporters at the rally told BuzzFeed News that they
     are very happy with Trump’s performance so far. Many took
     up Trump’s mantle and decried “fake news” outlets that are
     critical of the president. Others said the immigration ban —
     which was eventually halted by federal court judges — would
     keep the nation safer and that stemming the ﬂow of
     undocumented immigrants was the top priority.

     A contingent of Resist Together protesters were outside the
     event — there were no protests during Trumps speech — and
     things remained peaceful.

     BuzzFeed News was live on Facebook talking to Trump
     supporters before and after the event — the interviews are
     great, and you can watch it all here.




                           Updates

                           Posted at 7:02 p.m., Feb. 18


                            President Trump says he hates the press, and his
                            supporters go right with it




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                                                                                   Crowd        03/27/2017
                                                                                         Of Supporters              Page 4 of 45
                                                                                                       ­ BuzzFeed News




                            Chris O'meara / AP


                            President Trump attacked the news media during a campaign-style rally in Florida
                            Saturday, and his supporters there appeared to be on the same page is the president.


                            “He tells the truth and all the rest of them are liars,” one supporter told BuzzFeed News.


                            Just minutes after the rally started, the crowd turned unfriendly against reporters
                            covering the event. As the president criticized the news media for what he said were
                            “fake news” reporters, the crowd roared.


                            Supporters told BuzzFeed News their media consumption has changed during the
                            campaign, and others said they get their news from right-leaning outlets, Facebook,
                            and Russia Today, a Kremlin-backed news outlet.


                            Read more about it here.


                            —Salvador Hernandez



                           Posted at 6:00 p.m., Feb. 18


                            Trump’s supporters are completely unfazed by his the
                            reported chaos in his ﬁrst month in oﬃce
                            About 9,000 people turned out for Trump’s rally, and of the dozens BuzzFeed News
                            interviewed on our live stream there was little to no disappointment with the president’s
                            performance so far.

                            His supporters — like Trump — still appear to be in campaign mode. They are already
                            looking past some of the issues that liberals have trumpeted — such as the rollout of
                            the travel ban, the ﬁring of the national security advisor, and his labor secretary
                            nominee dropping out of contention — and are focused on what Trump says he plans
                            to do.

                            The only criticism was light. One supporter, Joyce Fudge, who is in her 80s, said she
                            thinks Trump said “what the crowd wanted to hear,” was prone to “bloviating,” and said
                            “he’s impressive just because of the ego he brings.”



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                                                                                   Crowd        03/27/2017
                                                                                         Of Supporters              Page 5 of 45
                                                                                                       ­ BuzzFeed News


                            Another woman who identiﬁed herself as an educator said she wasn’t happy with
                            Trump’s education secretary, Betsy DeVos, a billionaire campaign donor to the
                            president, because of her support for charter schools.


                            But mostly his supporters said they thought the travel ban — which focused on
                            refugees and people from seven Muslim-majority nations and was blocked by a federal
                            judge — would keep the country safer. They also said they liked his policies on
                            domestic safety and his bashing the media.


                            Here’s a quick sample of some of his supporters comments:




                                     Tom Namako                                          Follow
                                     @TomNamako

                               Trump “is coming direct to the people, he is transparent…he’s so
                               transparent, he has his meetings on
                               YouTube”facebook.com/BuzzFeedNews/v…
                               4:43 PM ­ 18 Feb 2017

                                        1     4




                                     Tom Namako                                          Follow
                                     @TomNamako

                               “Women for Trump!” they yell. Immigration is the #1 issue.
                               "Dearborn Michigan, where it’s all Muslim...illegal immigrants get
                               freebies."
                               4:24 PM ­ 18 Feb 2017

                                        27        27




https://www.buzzfeed.com/buzzfeednews/president­trump­rally­in­florida?utm_term=.iqwE27aDW#.ok4rBgpo2                              4/23
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                                                                                   Crowd        03/27/2017
                                                                                         Of Supporters              Page 6 of 45
                                                                                                       ­ BuzzFeed News




                                     Tom Namako                                          Follow
                                     @TomNamako

                               Trump “has done more in this past month than Obama has in 8
                               years,” this electrician says, likes Trump stance on “guns and
                               the NRA"
                               4:07 PM ­ 18 Feb 2017

                                        4     8




                                     Tom Namako                                          Follow
                                     @TomNamako

                               Woman on the left: “I am an immigrant” from the DR “I waited for
                               my time….we are all for Trump"
                               3:49 PM ­ 18 Feb 2017
                                        22        42




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                                                                                   Crowd        03/27/2017
                                                                                         Of Supporters              Page 7 of 45
                                                                                                       ­ BuzzFeed News




                                       Tom Namako                                        Follow
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                               “We are tired of being called racists, homophobic. That’s fake…
                               watched MSNBC for the returns because I wanted to see them
                               whine."
                               3:47 PM ­ 18 Feb 2017

                                          41     58




                            —Tom Namako



                           Posted at 5:53 p.m., Feb. 18


                            President Trump attacked the media and defended his
                            month-long term during a campaign-style rally in Florida




                            Chris O'meara / AP


                            President Donald Trump attacked the news media and defended his month-long
                            presidency at a campaign-style rally in Florida Saturday.


                            Speaking to a crowd of about 9,000 supporters, the president did what was a quick
                            review of his last ﬁrst weeks in oﬃce, including a review of his skirmishes with the
                            courts and the news media.

                            Trump’s early days in oﬃce have been troubled with the resignation of his national
                            security advisor, Michael Flynn, and court challenges to his executive order banning
                            travel from seven Muslim-majority countries. On Saturday, however, he surrounded
                            himself with some of his more fervent supporters.




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                                                                                                       ­ BuzzFeed News


                            “I want to be in a room with hard working American patriots, who love their country,
                            who salute their ﬂag and pray for a better future,” Trump said. “It’s now been one month
                            since my inauguration and I’m here to tell you about our great progress.”


                            The rally was also, for Trump, a chance to address his supporters without the “ﬁlter” of
                            what he has repeatedly called “fake news.”

                            “They make them up in some cases,” Trump said referring critical news reports about
                            his administration. “The just dont report the truth.”


                            Trump has been particularly dogged by news reports about possible links to the
                            Russian government, including reports by the New York Times and the Washington
                            Post that his campaign had been in contact with the Russian government repeatedly
                            before the election.

                            “They’ve become part of the problem,” he said. “They are part of the corrupt system.”


                            Trump also took the chance to go over some of the points he made during similar
                            campaign rallies before taking oﬃce, including a promise to keep companies from
                            leaving the US and making them “pay a very big price,” if they moved manufacturing
                            abroad.


                            “Look at what’s happening at every poll when it comes to optimism in our country,” the
                            President said. “We believe in two simple rules: Buy American and hire American.”

                            He also pointed to his push to continue construction of the Keystone and Dakota
                            Access Pipelines, a promise from his campaign days.


                            Trump said he was also planning on address the increase of crime, particularly in innner
                            cities. The task force would focus on destroying “transnational criminal cartels, which
                            are all over the United States, and we’re going to stop drugs from pouring into your
                            community.”

                            –Salvador Hernandez



                           Posted at 5:27 p.m., Feb. 18


                            Trump stopped mid-speech at a rally to invite one of his
                            supporters up on stage




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                                                                                                       ­ BuzzFeed News




                            Kevin Lamarque / Reuters


                            President Trump invited one of his supporters up on stage at a rally after he recognized
                            the man from television.

                            “Look at this guy, c’mon!” Trump said, pointing at Gene Huber, who had apparently
                            been the ﬁrst person in line at a rally that drew about 9,00 supporters. “Hope over the
                            fence, come on, he can do it.”


                            The sudden invitation to stand along the president even caught some Secret Service
                            agents off guard, who blocked Huber from the stage for a few seconds even as Trump
                            egged him to come up.


                            Huber said he had been waiting in line since 4 a.m. for the rally, and that he has a
                            cardboard cutout of Donald Trump at his home that he salutes every day.

                            Read the story here.


                            –Salvador Hernandez



                           Posted at 3:42 p.m., Feb. 18


                            The draft for a new travel ban order would reportedly
                            not affect green-card holders and might allow some
                            Syrian refugees




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                            Evan Vucci / AP


                            President Donald Trump is expected to issue a new executive order on immigration as
                            early as Tuesday, and it’s expected to include a temporary travel ban of citizens from
                            the seven Muslim-majority countries included in the last order, the Wall Street Journal
                            reported.


                            The new order is expected to have some signiﬁcant differences from the past order,
                            according to the WSJ, including allowing green card holders to travel to and from the
                            country’s affected.

                            Trump’s initial order, which banned travel from Iraq, Iran, Syria, Lybia, Yemen, Somalia
                            and Sudan, was put on hold by a ruling from the Night Circuit Court of Appeals after
                            multiple lawsuits were ﬁled by people affected by the order.


                            The Justice Department told the court that it be issuing a new order.


                            It was unclear whether a complete ban on accepting refugees from war-torn Syria
                            would be included in the new order, the WSJ reported. The number of refugees
                            allowed in to the US may be lowered, one US oﬃcial told the paper.


                            Trump’s previous ban sparked protests at international airports across the country the
                            day it went into effect.


                            The current draft would also give the secretary of state authority to make exceptions for
                            individual cases.

                            –Salvador Hernandez



                           Posted at 3:16 p.m., Feb. 18


                            Trump demanded the Secret Service let a man who
                            complemented him up on stage to speak:

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                               Trump demands the Secret Service let a man who
                               complemented him to hop the fence and come on stage and
                               talk. "A star is born, Trump says.
                               3:12 PM ­ 18 Feb 2017

                                        41     73




                            TRUMP: This guy. So he’s been all over television saying the best things and I see him
                            standing and didn’t you get here at like 4 in the morning.


                            SUPPORTER: I did sir.


                            TRUMP: Say a couple of words to this crowd.


                            SUPPORTER: Mr. President, thank you so, sir. We the people, our movement is the
                            reason why our president of the United States is standing here in front of us today.
                            When president trump during the election, promised all these things that he was going
                            to do for us, I knew he was going to do this for us. Thank you so much, sir.


                            TRUMP: A star is born. I wouldn’t say that secret service was thrilled with that, but we
                            know our people, right? We know our people. Great guy


                            A reporter who spoke to him earlier in the day identiﬁed
                            him as Gene Huber:




                                     Fernando Peinado                                    Follow
                                     @FernandoPeinado


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                                                                                                   ­ BuzzFeed News
                               Gene Huber, first in line at Trump's rally on Melbourne, Florida.
                               13 hours ahead of time: "To be first at a Donald Trump rally is an
                               honor"
                               9:24 AM ­ 18 Feb 2017

                                        750        1,839




                           Posted at 2:57 p.m., Feb. 18


                            Trump, after saying he wanted to talk about his policies,
                            immediately lashed out at the media:
                            Here’s a transcript:


                                  I also want to speak to you without the ﬁlter of the fake news. The dishonest
                                  media, which has published one false story after another, with no sources,
                                  even though they pretend they have them, they make them up in many
                                  cases, they just don’t want to report the truth and they’ve been calling us
                                  wrong now for two years.


                                  They don’t get it, but they’re starting to get it. I can tell you that. They’ve
                                  become a big part of the problem. They are part of the corrupt system.



                            Trump compared his disdain for the media to a quote from President Thomas Jefferson.
                            “Nothing can now be believed which is seen in a newspaper. Truth itself becomes
                            suspicious by being put into that polluted vehicle,” Trump said, quoting Jefferson.


                                  But despite all their lies, misrepresentations and false stories, they cannot
                                  defeat us in the primers, and they could not defeat us in the general election,
                                  and we will continue to expose them for what they are, and, most importantly,
                                  we will continue to win, win, win.

                                  We are not going to let the fake news Tulsa what to do, how to live, or what
                                  to believe. We are free and independent people, and we will make our own
                                  choices.


                                  We’re here today to speak the truth, the whole truth, and nothing but the
                                  truth. I hear your demands. Ism your voices. And I promise you, I will deliver. I
                                  promise that. And, by the way, you’ve seen what we’ve accomplished in a
                                  short period of time. The white house is running so smoothly, so smoothly.”




                           Posted at 2:47 p.m., Feb. 18


                            Trump arrived at his rally in dramatic fashion, with Air
                            Force One rolling up and then he and Melania Trump
                            emerging from the fuselage:




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                               Trump arrives. The crowd is going nuts.
                               2:37 PM ­ 18 Feb 2017

                                        7     3




                                     Tom Namako                                          Follow
                                     @TomNamako

                               Here's Trump, emerging from Air Force One
                               2:45 PM ­ 18 Feb 2017

                                        3     2




                           Posted at 2:46 p.m., Feb. 18


                            Supporters at Florida rally believe President Trump over
                            “fake news”




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                            Chris O'meara / AP


                            President Trump supporters at the Melbourn rally seemed to share the president’s
                            disdain and anger toward the news media, including several of them who said they
                            would believe Trump’s word over news reports.

                            “He tells the truth and all the rest of them are liars,” one supporter told BuzzFeed New
                            Andrew Kimmel.


                            When asked about what political issues supporters wanted the president to address at
                            his Florida rally, about a month after taking oﬃce, many of them listed the “liberal
                            media” along with healthcare, the economy and terrorism.


                            Asked about some of the troubles Trump has faced just weeks into his inauguration,
                            including the resignation of Michael Flynn as National Security advisor, and the court
                            block of Trump’s immigration ban via executive order, one supporter complained about
                            “fake news.”


                            Asked where people could get real news, one supporter answered, “Listen to President
                            Trump.”


                            Another supporter, who was there with his wife, was asked what news he trusts to stay
                            informed.

                            “Hopefully we can trust Donald.”


                            –Salvador Hernandez



                           Posted at 12:58 p.m., Feb. 18


                            The crowd size at the rally is unclear, but the line to get
                            inside was really long




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                                     Zeke Miller                                         Follow
                                     @ZekeJMiller

                               Just some of the line on the way in
                               12:05 PM ­ 18 Feb 2017

                                        645      1,602




                            One reporter on the ground in Melbourne noted that at one point, the queue extended
                            about a mile away from the entrance as people waited for hours to get inside.


                            Estimates on social media have ranged from hundreds to thousands.


                            —Tamerra Griﬃn




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                                                                                                   ­ BuzzFeed News




                                       Lissandra Villa                                   Follow
                                       @LissandraVilla

                               Here's a taste of the crowd size at President Trump's rally in
                               Melbourne, FL.
                               1:13 PM ­ 18 Feb 2017

                                         18       28




                           Posted at 12:21 p.m., Feb. 18


                            Some people have passed out from the heat while
                            waiting in line to get into the rally




                            Andrew Kimmel / Via BuzzFeed News


                            According to a BuzzFeed News reporter on the scene, the temperatures are high, and
                            there doesn’t appear to be anyone selling or providing bottled water.


                            —Andrew Kimmel



                           Posted at 11:49 a.m., Feb. 18


                            Trump supporters at rally are generally pleased with the
                            administration so far




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                                     Lissandra Villa                                      Follow
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                               I was working my way through the line talking to people and just
                               realized I can't see the back of the line.
                               10:30 AM ­ 18 Feb 2017

                                        1      2




                            Trump supporters told BuzzFeed News that they are generally pleased with the
                            president’s ﬁrst four weeks in oﬃce.


                            The crowd in Melbourne, Florida, is jovial. As the line to get into the venue queued
                            down the road earlier this afternoon, attendants led random chants of “USA!” and were
                            in good spirits.


                            They told BuzzFeed News that they see Trump as a truth-teller, and though some
                            admitted that they wished he would take action on Hillary Clinton’s emails and the wall
                            along the US-Mexico border he’s promised to build, his supporters continued to blame
                            others for his supposed shortcomings.

                            –Lissandra Villa and Tamerra Griﬃn



                           Posted at 9:19 a.m., Feb. 18


                            BuzzFeed News’ Lissandra Villa is live in Melbourne, FL
                            today, follow her tweets for updates on the action

                                     Lissandra Villa                                      Follow
                                     @LissandraVilla

                               Hi!      I'm in Melbourne, FL, where President Trump is having a
                               rally this afternoon. On twitter, he promised there's "a lot to talk
                               about."
                               9:02 AM ­ 18 Feb 2017

                                        22         91




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                                                                                                   ­ BuzzFeed News




                            Twitter


                            –Lissandra Villa Huerta



                           Posted at 9:11 a.m., Feb. 18


                            Trump says the media is the “enemy of the American
                            people” in Friday night tweet

                                      Donald J. Trump                                    Follow
                                      @realDonaldTrump

                                The FAKE NEWS media (failing @nytimes, @NBCNews,
                                @ABC, @CBS, @CNN) is not my enemy, it is the enemy of the
                                American People!
                                1:48 PM ­ 17 Feb 2017

                                        51,366      162,687




                            President Trump’s war against the news media escalated to new heights Friday, posting
                            on Twitter that news organizations are “the enemy of the American people.”


                            In the tweet, Trump said the New York Times, CNN, NBC News “and many more” are
                            not his enemy — but rather that of the general public.

                            “SICK!” the tweet concluded.


                            Read the full story here.




                            He doubled down on Saturday morning, urging the
https://www.buzzfeed.com/buzzfeednews/president­trump­rally­in­florida?utm_term=.iqwE27aDW#.ok4rBgpo2                          17/23
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                                        A Fiery Campaign­Style Speech Toon FLSDCrowd
                                                                        A Raucous Docket   03/27/2017
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                                                                                                   ­ BuzzFeed News

                                        He doubled down on Saturday morning, urging the
                                        public to not believe the “fake news” media

                                                  Donald J. Trump                                 Follow
                                                  @realDonaldTrump

                                           Don't believe the main stream (fake news) media.The White
                                           House is running VERY WELL. I inherited a MESS and am in
                                           the process of fixing it.
                                           5:31 AM ­ 18 Feb 2017

                                                    39,705      188,900




                                        –Jim Dalrymple II



                                        Posted at 9:06 a.m., Feb. 18


                                        Trump has a busy day planned at “The Southern White
                                        House” before heading to his rally in Melbourne tonight

                                                  Donald J. Trump                                 Follow
                                                  @realDonaldTrump

                                           Will be having many meetings this weekend at The Southern
                                           White House. Big 5:00 P.M. speech in Melbourne, Florida. A lot
                                           to talk about!
                                           5:51 AM ­ 18 Feb 2017

                                                    15,510      100,793




                                        –Jessica Simeone




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                                                                                                               Middle East and North African airports
                                                                                                               was sparked by militant chatter about
                                                                                                               using laptop bombs, said a US oﬃcial.

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                                                                                                          Some GOP senators are urging
                                                                                                          caution in dismissing Trump's
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                                                                                                          and NSA saying there's no evidence it
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                                                                                                          A witness in a US case against the
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                                                                                                          Russian history mysteriously plunged
                                                                                                          from his apartment window.

                                                                                                          Starbucks is now selling an avocado
                                                                                                          spread that's proving to be
                                                                                                          surprisingly controversial, with some
                                                                                                          calling it tasty and others calling it
                                                                                                          "alien slime" 🍵 😕


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                                                                                                              Why Is Donald Trump
                                                                                                               So Obsessed With
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                                                                                                                   by Aram Roston

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                                                                                                   Right Its Perfect Perp




                                                                                                   The Man Who Taught Donald Trump To
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                                                                                                   The Softening Of Kellyanne Conway




                                                                                                   A Wall Divides Latin America — But Not
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                                                                                                   Here’s What Parental Leave Is Really
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                                                                                                   A Magazine Fell For A Fake Telegram
                                                                                                   From McDonald’s Telling President
                                                                                                   Nixon To "Retire Bitch"




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                                                                                                   This Guy Was Attacked By A Crocodile
                                                                                                   While Trying To Impress A Girl And She
                                                                                                   Doesn’t Even Care




                                                                                                   Chrissy Teigen And John Legend Are
                                                                                                   Sharing Stunning Photos From Their
                                                                                                   Vacation In Morocco




                                                                                                   LA City Employees Barred From
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                                                                                                   Some GOP Senators Want To Wait
                                                                                                   Before Dismissing Trump’s Wiretapping
                                                                                                   Claims




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                                                                                                   A Russian Lawyer Involved In A US
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                                                                                                   From His Apartment Window


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                                                                                                     This Man Who Found Swastikas On His
                                                                                                     House Actually Spray Painted Them
                                                                                                     Himself, Police Say




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         POLITICS




        At Rallies In Florida, Women Think                                                                               In The News Today
                                                                                                                           Travelers are concerned their laptops
        Trump’s Past Is Past                                                                                               will be stolen now that the US is
                                                                                                                           banning electronic devices from being
        BuzzFeed News’s Dino Grandoni reported from Ocala and Ariane Lange reported                                        carried on ﬂights coming from the
        from Lakeland in Florida.                                                                                          Middle East.
        Originally posted on Oct. 12, 2016, at 6:12 p.m.
                                                                                                                           Some GOP senators are urging
        Updated on Oct. 13, 2016, at 4:34 a.m.
                                                                                                                           caution in dismissing Trump's
                                                                                                                           wiretapping claims — despite the FBI
                      Dino Grandoni                                           Ariane Lange
                      BuzzFeed News Reporter                                  BuzzFeed News Reporter                       and NSA saying there's no evidence it
                                                                                                                           occurred.

                      Reporting From                                                                                       A witness in a US case against the
                      Florida                                                                                              largest money laundering scheme in
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                                                                                                                             He Says His Lie Sent A
                                                                                                                             Man To Prison For Life.
                                                                                                                             Coming Forward Could
                                                                                                                              Put Him Behind Bars
                                                                                                                                  by Albert Samaha
        Donald Trump speaking at the Southeastern Livestock Pavillion in Ocala, Florida. Gerardo Mora / Getty
        Images
                                                                                                                           Connect With                Politics

        OCALA, Florida — Gathered under the glare of a central Florida sun on Wednesday,                                   Like Us On Facebook
        Donald Trump supporters said they were ready to weather yet more allegations that
        the Republican businessman behaved inappropriately around women.                                                   Follow Us On Twitter

        And later in the evening they would, after the New York Times and the Palm Beach                                   Follow Us On Apple News
        Post published accounts of at least three more women who accused Trump of
        making unwanted sexual advances.                                                                                   Subscribe to our RSS feed

        Earlier on Wednesday, BuzzFeed News published an account of four former
        contestants in the 1997 Miss Teen USA pageant who said Trump walked into the
https://www.buzzfeed.com/dinograndoni/trump­supporters­unfazed­by­story­of­him­walking­in­on­teen?utm_term=.xya7KkGg1#.dfeORA7l6                                       1/6
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        dressing room while girls between the ages of 14 and 19 were changing.


        “I remember putting on my dress really quick because I was like, ‘Oh my god, there’s
                                                                                                                 News moves fast. Keep up with
        a man in here,’” Mariah Billado, the former Miss Vermont Teen USA, told BuzzFeed
                                                                                                                 the BuzzFeed News daily email.
        News.


        In about dozen interviews, women supporting Trump, many of them mothers,                               Your Email Address            Sign up
        seemed unfazed as they waited to enter the rally and the Teen USA accounts
        reverberated through the media cycle.
                                                                                                              More News
        “Frankly, I think that was years ago. It didn’t kill anybody,” said Gay Light of Oxford,
        Florida. She echoed the sentiment of many here that the statute of limitations to be
        outraged by Trump’s barging in had passed.




                                                                                                              Trump’s Critics Are Letting The Bigger
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        Gay Light and two friends, Rick and Rosemary Stagg, on their way back to their car after the rally.
        BuzzFeed News / Dino Grandoni



        “They should have done something back then,” said Mary Holt, stopping for a
        moment while waving an oversized “TRUMP PENCE” ﬂag to talk. “Now that he’s
        wanting to be the president, all the dirty news comes out.”
                                                                                                              The Softening Of Kellyanne Conway




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                                                                                                     This Student’s Secret Abortion Shows
                                                                                                     Why Thousands Of Irish Women Will
                                                                                                     Strike Next Week




                                                                                                     Nashville’s Last Taboo? Country Music
                                                                                                     Stars Are Tiptoeing Around Trump




        Mary Holt pausing to pose for a picture. Dino Grandoni / BuzzFeed News



        Other supporters trotted out a retort used by Trump himself in the most recent               Here’s What Parental Leave Is Really
        presidential debate: that his behavior pales in comparison to the inﬁdelities and            Like Around The World
        alleged sexual assaults of Hillary Clinton’s husband.


        “He didn’t rape them, right?” Celeste Lovett said. “Well, Bill Clinton actually raped
        people.” She was referring to Juanita Broaddrick, who for decades has claimed that
        Bill Clinton raped her in 1978.


        “It’s no different than the Secret Service walking in on a president with a woman on         Egypt’s Feared Spy Agency Has Hired
        his desk,” Light said, perhaps referring to an ex-Secret Service oﬃcer who claimed to        Some DC Lobbyists To Clean Up Its
        have discovered Bill Clinton “making out on the Map Room table” with the daughter            Image
        of former Vice President Walter Mondale.


        At a rally in Lakeland later that afternoon, seven women likewise echoed the                 Now Buzzing
        campaign’s pivot to the Clintons, with some going even further. Trump supporter
        Debora Johnson defended the candidate against the former pageant contestants’
        allegations, saying “a lot of rich men, they would do that.”


        Glenda Starn suggested it was the teenagers’ fault: “They want their name in the
        news, they want the glory of it. That’s my opinion. So give ’em the glory.”
                                                                                                     Coal In "Freefall": The World Is
        In Ocala, one supporter named Connie who declined to give her last name, echoed              Suddenly Building A Lot Fewer Coal
        some Teen USA contestants that BuzzFeed interviewed who doubted Trump could                  Plants
        have entered the dressing room.


        “It’s not that I don’t believe the story,” Connie said. “But these are pageants with a lot
        of people going back and forth.”


        Others, again echoing Trump, simply dismissed the story outright because they no
        longer trusted mainstream media, which they see as being in cahoots with the                 Please Enjoy This Insane Trailer For
        Clinton campaign.                                                                            Lindsay Lohan’s New TV Show


        “There’s just so much slander out there that Hillary’s been spreading on Trump,”
        Cindy Fox said over the loudspeakers at the rally. “You don’t know if half of that is
        true.”


                                                                                                     Controversial Four Week Wait For Dole
                                                                                                     Dumped From Welfare Changes
https://www.buzzfeed.com/dinograndoni/trump­supporters­unfazed­by­story­of­him­walking­in­on­teen?utm_term=.xya7KkGg1#.dfeORA7l6             3/6
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                                                                                                   This Guy Catﬁshed Someone For Two
                                                                                                   Years By Faking A Female Voice And
                                                                                                   It’s Iconic




                                                                                                   63 Photos That’ll Take Every Aussie On
                                                                                                   A Trip Down Memory Lane




                                                                                                   Here’s What Happened On "Married At
        Cindy Fox cheering as Trump entered the arena. Dino Grandoni / BuzzFeed News
                                                                                                   First Sight" This Week, LMAO I Thought
                                                                                                   It Was The Finale
        Lovett and her friend, Margaret Vaﬁdes, were suspicious of why the Washington Post
        published a video, which showed Trump saying he can grab women “by the pussy”
        without consent because he is famous, two days before a presidential debate.


        “The media’s attempt at throwing up stories to take the attention away from the real
        issues is a disservice to the American people,” Vaﬁdes said, referring to the
        Washington Post and BuzzFeed News stories.                                                 There’s A Prosecco-Flavored Edible
                                                                                                   Nail Polish Because Why Not
        Barbara Hamilton, another Trump supporter, conceded the Teen USA story gave her
        pause about the candidate.

        “I might look at him a little differently,” Hamilton said, if the story were true. “They
        should make sure that he’s got security around him around women.”

                                                                                                   A Magazine Fell For A Fake Telegram
                                                                                                   From McDonald’s Telling President
                                                                                                   Nixon To "Retire Bitch"




                                                                                                   This Guy Was Attacked By A Crocodile
                                                                                                   While Trying To Impress A Girl And She
                                                                                                   Doesn’t Even Care




                                                                                                   Chrissy Teigen And John Legend Are
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        Barbara Hamilton resting outside the rally entrance. Dino Grandoni / Buzzfeed News



        Hamilton added that she wouldn’t let a female family member compete in a pageant
        where older men are allowed in the dressing room. But that doesn’t change her vote.


        “I just do not like Hillary at all,” she said. “Like Trump has said, she’s been in oﬃce for
        30 years and she’s very corrupt.”                                                             LA City Employees Barred From
                                                                                                      Helping Federal Immigration
                                                                                                      Authorities




                                                                                                      Who Hurt You?

                                                                                                                   More Buzz




        The crowd in Ocala on Wednesday. Gerardo Mora / Getty Images



        Holt, the ﬂag-waving Trump diehard, said that she wouldn’t let her 17-year-old
        daughter participate in such a pageant, either. She added that she might change the
        way she felt about Trump if she spoke with a former beauty queen in person.

        “I think he probably did it,” Holt said. “But we have a choice: We have Hillary or him. I
        vote him.”


        More Women Say Donald Trump Touched Them
        Inappropriately
        buzzfeed.com




        Teen Beauty Queens Say Trump Walked In On Them
        Changing
        buzzfeed.com




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           Angeles.
           Contact Ariane Lange at ariane.lange@buzzfeed.com.

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                                                                                   Raising From          Docket
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          POLITICS




        Trump Fans Aren’t Upset He’s Raising                                                                  In The News Today
                                                                                                                Travelers are concerned their laptops
        From Big Donors Now                                                                                     will be stolen now that the US is
                                                                                                                banning electronic devices from being
        The big donors won’t own Trump, his supporters say. Besides, he’s got to keep up                        carried on ﬂights coming from the
        with Hillary.                                                                                           Middle East.
        posted on Jun. 17, 2016, at 11:29 a.m.
                                                                                                                Some GOP senators are urging
                                                                                                                caution in dismissing Trump's
                      Tarini Parti                                  Rosie Gray                                  wiretapping claims — despite the FBI
                      BuzzFeed News Reporter                        BuzzFeed Staff
                                                                                                                and NSA saying there's no evidence it
                                                                                                                occurred.
                      Reporting From
                      Tampa, Florida                                                                            A witness in a US case against the
                                                                                                                largest money laundering scheme in
                                                                                                                Russian history mysteriously plunged
                                                                                                                from his apartment window.

                                                                                                                Mariah Carey revealed she's making a
                                                                                                                movie based on her iconic song "All I
                                                                                                                Want For Christmas Is You" 🎄🎅


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                                                                                                                  He Says His Lie Sent A
                                                                                                                  Man To Prison For Life.
                                                                                                                  Coming Forward Could
        Ron Jenkins / Getty Images                                                                                 Put Him Behind Bars
                                                                                                                       by Albert Samaha
        Donald Trump wasn’t one of the “puppets,” he often told supporters. He wasn’t
        beholden to major donors and lobbyists. He was self-funding his campaign.                               Connect With                Politics

        It was a key part of his pitch to voters and his eventual success — Trump wasn’t like                   Like Us On Facebook
        the other politicians who begged Charles and David Koch for money, and his
        supporters loved that.                                                                                  Follow Us On Twitter


        Now, he has to raise a lot more money. Trump has brought on major fundraisers who                       Follow Us On Apple News
        previously raised money for other candidates. He’s got a few super PACs working on
        his behalf. His campaign has created a joint fundraising committee with the                             Subscribe to our RSS feed
        Republican National Committee that can accept checks for up to nearly $450,000.
        He’s even requested a meeting with top aides to the Kochs.


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                                                              Upset He’s          on FLSD
                                                                         Raising From          Docket
                                                                                      Big Donors          03/27/2017
                                                                                                 Now ­ BuzzFeed News         Page 34 of 45
        But it’s not upsetting his die-hard supporters.

        “He had no choice, now that he’s in the general election,” said Sue Gillis, 73, of              News moves fast. Keep up with
        Millen, Georgia, who came to see Trump in Atlanta on Wednesday.                                 the BuzzFeed News daily email.

        “He has to,” said Michael Stainbrook, 64, of Stone Mountain Ga., who also attended            Your Email Address           Sign up
        Trump’s Atlanta rally. “You’re talking the difference between maybe — what was it? —
        he spent maybe $100 million on his campaign of his own money. Now they’re talking
        about a billion dollars. That’s an awful lot to spend.”                                     More News

        “We’ve entered into a different entity,” said Joan Buchli, a homemaker from West
        Tampa. “We have to come to the realization that it takes $2 billion to run a
        presidential campaign — that’s disappointing to me because we teach our kids you
        can grow up to be whatever you want, but that’s not true.”


        She explained she doesn’t take everything Trump says to heart, “I decided to make a         Trump’s Critics Are Letting The Bigger
        change this year and vote for an outsider, and I’m not taking everything he’s saying        Russia Story Slide
        so personally.”


        Many supporters believe Trump’s already made his point by largely self-funding his
        primary. Now he needs to be able to compete with Clinton because she is the one
        actually beholden to donors, they argue.

        “It doesn’t bother me because Crooked Hillary — look at the money she’s got from            A Murder In Berkeley Gave The Far-
        Wall Street,” said Mike Johnson, a retired Tampa resident, who attended a Saturday          Right Its Perfect Perp
        morning event. “He’s got no choice. What is he going to do? Fight with two hands
        behind his back?”


        Johnson’s son, Derek, added that Trump’s supporters realize the real estate mogul is
        after all a “showman” and at the end of the day “money is what talks.”


        Wearing a T-shirt bearing Trump’s face that read, “Washington, You’re Fired!,” Mike         The Man Who Taught Donald Trump To
        Smith of Tampa said he’s certain Trump will still be able to disrupt things in              Pit Gay People Against Immigrants
        Washington despite taking money from establishment donors. “I expected that
        because once you win the nomination you a need a lot of money to win.”


        As Trump often does, Doug McIntyre of Tampa blamed the media and the system
        itself. “The media has made it so damn expensive to run. That’s just the way it is. The
        funding system is so crooked and corrupt.”
                                                                                                    The Softening Of Kellyanne Conway
        Despite Trump’s reversal and his latest proposal at a rally this week to put one of his
        super PAC donors in charge China, his campaign continues to attack Clinton for
        “selling out the country,” which his supporters in interviews echo as reasoning why
        Trump is still their choice. “Did you all hear about how Hillary Clinton put on a nuclear
        security advisory board one of her donors?” Stephen Miller, Trump’s senior policy
        adviser asked the crowd in Tampa before introducing the candidate. “Did you hear
        about this by the way?”
                                                                                                    A Wall Divides Latin America — But Not
                                                                                                    The One You’re Thinking Of
        Some Trump fans pointed to the donations the Clinton Foundation had received
        from foreign countries to make the point that Trump was still better on the issue than
        Clinton. “I think you’re going to have to take a bit of money here and there,” said
        John Hosegood of Winter Haven, Fla. “At least he’s not taking money from foreign
        countries in exchange for favors.”


        Christy Gunter and her son Noah Gunter attended Trump’s Greensboro event on
                                                                                                    The Far Right’s Most Common Memes
        Tuesday. Christy, 53, argued: At one time he wasn’t taking donations at all, and he         Explained For Normal People
        needs them because we need a change. And if it takes a businessman to change
        our world, that’s what we need.” Noah, 19, chimed in: “He’s still not doing it as much
        as other politicians.”                                                                                      More News



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                                                                  Upset He’s          on FLSD
                                                                             Raising From          Docket
                                                                                          Big Donors          03/27/2017
                                                                                                     Now ­ BuzzFeed News       Page 35 of 45
        Stephen Dickerson, a retired Tampa resident, called it a “necessarily evil.”


        “At some point it just needs to be done, but I don’t think he’s going to do something
        where he owes people positions,” he said.

                                                                                                        This Student’s Secret Abortion Shows
        “They want to give it to him, you know?” Stainbrook said of big donors. “And it’s not           Why Thousands Of Irish Women Will
        exactly the same. They’re not going to own him.”                                                Strike Next Week

        Rosie Gray reported from Atlanta and Greensboro, North Carolina.

           Tarini Parti is a Capitol Hill reporter for BuzzFeed News and is based in Washington, D.C.
           Contact Tarini Parti at tarini.parti@buzzfeed.com.

           Rosie Gray is a reporter for BuzzFeed News and is based in Washington, D.C. Gray reports
           on politics and foreign policy.                                                              Nashville’s Last Taboo? Country Music
           Contact Rosie Gray at rosie@buzzfeed.com.                                                    Stars Are Tiptoeing Around Trump
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                                                                                                        Coal In "Freefall": The World Is
                                                                                                        Suddenly Building A Lot Fewer Coal
                                                                                                        Plants




                                                                                                        Please Enjoy This Insane Trailer For
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                                                                                                        Controversial Four Week Wait For Dole
                                                                                                        Dumped From Welfare Changes
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                                                                                      Big Donors          03/27/2017
                                                                                                 Now ­ BuzzFeed News         Page 36 of 45




                                                                                                    This Guy Catﬁshed Someone For Two
                                                                                                    Years By Faking A Female Voice And
                                                                                                    It’s Iconic




                                                                                                    63 Photos That’ll Take Every Aussie On
                                                                                                    A Trip Down Memory Lane




                                                                                                    Here’s What Happened On "Married At
                                                                                                    First Sight" This Week, LMAO I Thought
                                                                                                    It Was The Finale




                                                                                                    There’s A Prosecco-Flavored Edible
                                                                                                    Nail Polish Because Why Not




                                                                                                    A Magazine Fell For A Fake Telegram
                                                                                                    From McDonald’s Telling President
                                                                                                    Nixon To "Retire Bitch"




                                                                                                    This Guy Was Attacked By A Crocodile
                                                                                                    While Trying To Impress A Girl And She
                                                                                                    Doesn’t Even Care




                                                                                                    Chrissy Teigen And John Legend Are
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                                                                                             Big Donors          03/27/2017
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                                                                                                         LA City Employees Barred From
                                                                                                         Helping Federal Immigration
                                                                                                         Authorities




                                                                                                         Who Hurt You?

                                                                                                                      More Buzz




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                                Exhibit
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       Case 0:17-cv-60426-UU Your
3/21/2017                     Document       21-2
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                                                                                   Quits ­ BuzzFeed News                          Page 39 of 45




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   Your Primary Recap: Clinton, Trump
   Dominate And Rubio Quits                                                                                   In The News Today
   BuzzFeed News correspondents McKay Coppins was in Florida with Rubio; Tarini                                 Travelers are concerned their laptops
   Parti was in Ohio with Kasich; Ruby Cramer was in Florida with Clinton; Rosie Gray                           will be stolen now that the US is
   was in Texas with Cruz and Adrian Carrasquillo was in Florida.                                               banning electronic devices from being
   Originally posted on Mar. 15, 2016, at 5:07 p.m.
                                                                                                                carried on ﬂights coming from the
   Updated on Mar. 16, 2016, at 3:29 a.m.                                                                       Middle East.

                                                                                                                Some GOP senators are urging
                 BuzzFeed News
                 BuzzFeed Staff                                                                                 caution in dismissing Trump's
                                                                                                                wiretapping claims — despite the FBI
                                                                                                                and NSA saying there's no evidence it
                                                                                                                occurred.

                                                                                                                A witness in a US case against the
                                                                                                                largest money laundering scheme in
   Donald Trump and Hillary Clinton dominated the ﬁve                                                           Russian history mysteriously plunged
                                                                                                                from his apartment window.
   major primaries on Tuesday night — with Trump
   ending Marco Rubio’s campaign in his home state of                                                           Mariah Carey revealed she's making a
                                                                                                                movie based on her iconic song "All I
   Florida, and Clinton dealing Bernie Sanders a string of                                                      Want For Christmas Is You" 🎄🎅
   losses from the Atlantic Coast to the Midwest.
                                                                                                                Download the BuzzFeed News app




   Gerald Herbert / AP                                          AP Photo/Lynne Sladky

                                                                                                                   How Trump's Lawyer
                                                                                                                  Placed A Big Casino Bet
   The bottom line, though, is that the race is still on for Trump, while Clinton dealt                              That Left Dozens
   serious blows to Sanders’ momentum.                                                                                Empty­Handed
                                                                                                                     by Anthony Cormier
   More on that later, but ﬁrst, a quick wrap up:
                                                                                                               Connect With               USNews

            On the Republican side: Trump won Florida, Illinois, North Carolina, and the Northern               Like Us On Facebook
            Mariana Islands caucuses. John Kasich won Ohio.
            For the Democrats: Hillary Clinton won Florida, North Carolina, Ohio, and Illinois.                 Follow Us On Twitter
            Results in Missouri are still too close to call for both parties.
            Marco Rubio dropped out of the race, ending what was a once-promising bid for the
            presidency that many thought could revitalize the Republican Party and how it
https://www.buzzfeed.com/buzzfeednews/another­yuuge­primary­night?utm_term=.eqlXaD1dp#.tj9OP0X1Z                                                        1/7
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                                                                         And Rubio           03/27/2017
                                                                                   Quits ­ BuzzFeed News                 Page 40 of 45
         appeals to younger and more diverse voters.
         Trump appeared on stage — and praised — his embattled campaign manager, who is
         accused of manhandling a Breitbart reporter.                                                 News moves fast. Keep up with
         And while some people seem to think that, after Tuesday’s results, the GOP race
                                                                                                      the BuzzFeed News daily email.
         seems headed toward a contested convention — more on that below — others think
         Trump still has a clear path to locking up the nomination.
         Sanders’ loss in Illinois comes after perhaps the best week of his campaign — and he       Your Email Address            Sign up
         still fell ﬂat.
         Here’s BuzzFeed News’s live updates post, with full speech recaps links to all our
         coverage, and other goodness.
                                                                                                   More News
   Both Trump and Clinton crushed the polls in Florida — the races
   were called for them as soon as voting ended — which was the
   biggest prize of the night.
   Minutes later, Rubio — Trump’s main antagonist who was struggling to draw
   establishment Republicans to his corner — took to the stage and ended his campaign
   in an emotional speech.                                                                         Trump’s Critics Are Letting The Bigger
                                                                                                   Russia Story Slide
   “It is not God’s plan that I’ll be president in 2016 or maybe ever, and today my
   campaign is suspended,” Rubio said.

   BuzzFeed News reporter McKay Coppins was at Rubio’s event:


                                                                                                   A Murder In Berkeley Gave The Far-
            McKay Coppins                                         Follow                           Right Its Perfect Perp
            @mckaycoppins

      Rubio trying to thank supporters here in Florida. Someone yells
      out, "Fight to the convention!"
      5:13 PM ­ 15 Mar 2016

               25      40


                                                                                                   The Man Who Taught Donald Trump To
                                                                                                   Pit Gay People Against Immigrants
            McKay Coppins                                         Follow
            @mckaycoppins

      I will personally miss the crowds at Rubio rallies. Friendly, polite,
      generally idealistic, and averse to sucker­punching black people.
      7:14 PM ­ 15 Mar 2016

               1,536        2,507
                                                                                                   The Softening Of Kellyanne Conway

   Trump’s win in Florida, Illinois, and North Carolina were huge
   boosts in terms of delegates, but he still didn’t seal his path to
   the nomination.
   John Kasich defeated Trump in his home state of Ohio — keeping the governor in the
   race and preventing the businessman from accumulating a nearly insurmountable
   lead in delegates, the people who actually select the nominee.                                  A Wall Divides Latin America — But Not
                                                                                                   The One You’re Thinking Of
   Kasich looked outright overjoyed during his victory speech, vowing to not resort to
   insults as Trump as done. “I will not take the low road to the highest oﬃce in the
   land,” he said.


   “I labored in obscurity for so long,” Kasich told the crowd in Cleveland.

                                                                                                   The Far Right’s Most Common Memes
                                                                                                   Explained For Normal People
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   “People counted me out. People in Ohio were saying, ‘Why don’t they ever call on
   him?’ But we put one foot in front of the other.”


   His event was also noted for its serious use of confetti — because last time he didn’t
   have enough. It was a lot of confetti. Lots and lots of confetti. Take it from this GIF and
   our reporter who was there, Tarini Parti:
                                                                                                   This Student’s Secret Abortion Shows
                                                                                                   Why Thousands Of Irish Women Will
                                                                                                   Strike Next Week
            Tarini Parti                                       Follow
            @tparti

      Kasich camp staffer said they decided to bury him in confetti
      tonight because gov complained after NH that the confetti was
      weak
      7:42 PM ­ 15 Mar 2016

              58      94                                                                           Nashville’s Last Taboo? Country Music
                                                                                                   Stars Are Tiptoeing Around Trump




                                                                                                   Here’s What Parental Leave Is Really
                                                                                                   Like Around The World




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            @NBCNightlyNews                                                                        Egypt’s Feared Spy Agency Has Hired
                                                                                                   Some DC Lobbyists To Clean Up Its
      They went all­out with the confetti for John Kasich's Ohio
                                                                                                   Image
      Primary victory speech tonight.
      6:44 PM ­ 15 Mar 2016

              167      349
                                                                                                                 More News



   Trump didn’t even mention Kasich in his speech.
                                                                                                   Now Buzzing
   But he did notably congratulate his embattled campaign manager, Corey
   Lewandowski, who stood next to Trump on stage.


   “Good job, Corey,” Trump said. Lewandowski has been accused by former Breitbart
   News reporter Michelle Fields of roughly grabbing her while she tried to ask Trump a
   question, leaving bruises. Trump has suggested Fields was making the story up, while
   Lewandowski called her “delusional.” Fields ﬁled a police report that alleges                   Coal In "Freefall": The World Is
   Lewandowski assaulted her. Trump faced criticism for backing his staffer so visibly             Suddenly Building A Lot Fewer Coal
   during the speech.                                                                              Plants

   Trump then delivered his usual stump speech, saying, “More importantly than                                   More Buzz
   anything else we’re going to start winning again, this country doesn’t win anymore,
   we don’t win with our military, we don’t win with trade.”


   He also knocked “disgusting reporters,” calling them “horrible people.” Here’s how
   Lewandowski reacted to that:

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                                                                                                   Controversial Four Week Wait For Dole
                                                                                                   Dumped From Welfare Changes




                                                                                                   This Guy Catﬁshed Someone For Two
                                                                                                   Years By Faking A Female Voice And
                                                                                                   It’s Iconic

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   Kasich’s win in Ohio is also a major step toward a contested
   Republican convention in July, which could happen when no one                                   63 Photos That’ll Take Every Aussie On
   candidate nabs the 1,237 delegates to secure the nomination                                     A Trip Down Memory Lane
   and the delegates instead decide who to support on the ﬂoor of
   the event.
   As Parti wrote:



             His win — the ﬁrst primary victory for Kasich — will make it harder for Trump to      Here’s What Happened On "Married At
             secure the Republican nomination for president outright, increasing the chances       First Sight" This Week, LMAO I Thought
             of a chaotic contested convention in July set to take place just a few miles from     It Was The Finale
             where the governor celebrated his win complete with confetti canons on
             Tuesday.

             …

             Kasich will move on to campaigning in Pennsylvania and Utah this week. His
             campaign repeatedly points out that there are still almost 1,000 delegates to go
             before the convention and that the map for upcoming contests in the next few          There’s A Prosecco-Flavored Edible
             weeks is more suitable for Kasich’s message. “We’re going to hitch up a               Nail Polish Because Why Not
             covered wagon and we’re going West,” the governor told reporters the day
             before the election.



   Coppins said such a convention could severely damage the Republican Party as we
   know it:


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                                                                         And Rubio           03/27/2017
                                                                                   Quits ­ BuzzFeed News              Page 43 of 45
                                                                                                   A Magazine Fell For A Fake Telegram
               McKay Coppins                                   Follow                              From McDonald’s Telling President
               @mckaycoppins                                                                       Nixon To "Retire Bitch"
      Can't think of a scenario more likely to permanently fracture the
      GOP than a contested convention this year. Looks like we're
      headed there.
      6:24 PM ­ 15 Mar 2016

                  149    215


                                                                                                   This Guy Was Attacked By A Crocodile
                                                                                                   While Trying To Impress A Girl And She
                                                                                                   Doesn’t Even Care
   Others, though, think Trump still has a great chance to secure the nomination without
   convention drama.




                                                                                                   Chrissy Teigen And John Legend Are
                                                                                                   Sharing Stunning Photos From Their
                                                                                                   Vacation In Morocco




                                                                                                   LA City Employees Barred From
                                                                                                   Helping Federal Immigration
                                                                                                   Authorities


   Carolyn Kaster / AP



   Clinton used her speech — she delivered it with a
   hoarse voice to throngs of amped-up supporters — to
   criticize Trump.                                                                                Who Hurt You?

   Clinton said she would seek to “bring our country together.” Plans to do things like
   bar Muslims from entering the country and build a wall on the Mexican border, Clinton
   said, don’t make Trump “strong. It makes him wrong.”

   “This isn’t just about Donald Trump. All of us have to do our part,” Clinton continued.
   “We have to take on all forms of inequality and discrimination.”


   She also sought to emphasize that she offered more than just nice-sounding ideas —
   a clear shot at her rival, Sanders.

   “Running for president is hard,” she said. “But being president is harder.”



               Ruby Cramer                                     Follow
               @rubycramer

      crowd tonight in West Palm Beach is one of the loudest and
      most energized @HillaryClinton has had during this campaign.
      6:06 PM ­ 15 Mar 2016
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              84       206




   Clinton’s win in Florida also showed that she is solidifying her
   grip on the Latino vote nationwide.
   As BuzzFeed News reporter Adrian Carrasquillo wrote:



         Miami and the rest of Florida’s large Hispanic community conﬁrmed something
         for Clinton: Her strength with the critical voting bloc — one that looks different in
         key states — has now helped deliver big wins in Texas and Florida where 27.5%
         of all Latinos in the country live.

         The results looked similar to Texas and other counties around the country
         where Hispanics are densely populated. Clinton won 69% of Latino support in
         Florida, compared to just 31% for Sanders. She performed well across all
         groups, with 74% support from Latinas and 72% from the sizable non-Cuban
         Hispanic population in Florida where Puerto Ricans, Colombians, Venezuelans,
         and others contribute to a Latino voter proﬁle that is different than in other
         states.



   Sanders delivered his stump speech at a rally to supporters early
   in the evening.
   “You do not have to accept the status quo. We can do better,” Sanders said. “Don’t let
   people tell you that you can’t think big.”

   His loss in Illinois was severe though — Sanders has one of his best weeks of the
   campaign season, and still couldn’t beat Clinton in a state he focused on. As
   BuzzFeed News reporter Evan McMorris Santoro put it:



         really Illinois was one of Sanders' best-executed campaigns, message-
         and focus-wise. big loss.
         — E McMorris-Santoro (@EvanMcSan)




         if the conversation is about delegate math, that's Clinton's conversation.
         Sanders needed wins. Didn't get 'em. https://t.co/wzElIjddPF
         — E McMorris-Santoro (@EvanMcSan)




   Here’s BuzzFeed News’s full primary coverage:
   Marco Rubio Drops Out Of Presidential Race

   Donald Trump Just Called Fox’s Megyn Kelly “Crazy Megyn”


   “Good Job, Corey,” Trump Tells Embattled Campaign Manager After Tuesday
   Victories


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                                                                                   Quits ­ BuzzFeed News                                   Page 45 of 45

   John Kasich’s Big Win Is A Key Step Toward A Contested Convention


   Small Confetti Blizzard Dropped On John Kasich Because Last Time There Wasn’t
   Enough

   Clinton Solidiﬁes Her Grip On The Latino Vote Nationally With Big Florida Win


   What Should We Name This Super Tuesday?


   Bernie’s Best Week Ever Falls Flat


   Ted Cruz’s Plans To Go One-On-One With Donald Trump Got Messed Up By John
   Kasich

   Live Updates Of the Primary And Aftermath



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